Case 2:03-cV-02330-SHI\/|-ch Document 429 Filed 08/23/05 Page 1 of 5 Page|D 762

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IN THE UNITED STATES DISTRICT COUR'I`l HLED c

FOR THE WESTERN DISTRICT oF TENNESSEE _ _
wESTERN DIVISION 05 AUG 23 PH 3- |B

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LECTROLARM c ST Y , . U-S'p'r)TF§?:’TCOLM
U OM S STEMS INC ’ W§JGF :P.:\ r.-;::‘APH|S
Plaintiff,
vS. No. 03-2330-MaA
vICON INDUSTRIES, INC., ET AL.,

Defendant.

 

ORDER ON PENDING MOTION

 

On October 29, 2004, defendant Sensormatic filed a motion
(D.E. #259) for leave to file a sur-reply to plaintiff’S reply to
the September 22, 2004, motion for an order to show cause. On
November 17, 2004, Sensormatic filed a “Supplemental Authority
With Respect to Defendant’s Opposition” (D.E. #268) regarding the
motion for order to show cause, which was its sur~reply. The
motion for leave to file a Sur-reply (D.E. # 259) is, therefore,
moot and is denied.

It is So ORDERED this l1dday of August, 2005.
_V;’/" "Z_\

SAMUEL H. MAYS, JR.
UNI'I'ED STATES DIS'I‘RICT JUDGE

 

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with Rule 58 andlorTQ{a) FRCP on _ l Z.é_'_é§

   

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